Case 2:18-cv-16206-MCA-LDW Document 43 Filed 11/12/19 Page 1 of 2 PagelD: 592

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November 12, 2019

Via ECF

Hon. Leda Dunn Wettre, U.S.M.J.

U.S. District Court

M. L. King, Jr. Federal Building & Courthouse
50 Walnut St., Room 2A

Newark, NJ 07102

Re: See attachment hereto

Dear Judge Wettre:

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This firm, together with Fried, Frank, Harris, Shriver & Jacobson LLP (“Fried Frank”),
represents defendant Perrigo Company plc (“Perrigo”) in the actions referenced in the attachment

to this letter.

Perrigo has filed Pro Hac Vice Motions for R. David Gallo, Esq. of Fried Frank in each

of the listed actions. We have confirmed that there is no opposition to the Motions.

Respectfully yours,
/s/ Alan S. Naar

Alan S. Naar
ASN:cd
Enclosure
cc: All Counsel
Case 2:18-cv-16206-MCA-LDW Document 43 Filed 11/12/19 Page 2 of 2 PagelD: 593

Greenbaum Rowe
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Hon. Leda Dunn Wettre, U.S.D.J.
November 12, 2019
Page 2

ATTACHMENT A

Roofer’s Pension Fund v. Papa, et al., No, 2:16-cv-2805 (MCA)(LDW)

Carmignac Gestion, S.A. v. Perrigo Company plc, et al., No. 2:17-cv-10467-MCA-LDW
Manning & Napier Advisors, LLC v. Perrigo Company plc, et al., No. 2: 18-cv-674-MCA-LDW
Mason Capital L.P., et al. v. Perrigo Co. ple, et al., No. 2:18-cv-1119-MCA-LDW

Pentwater Equity Opportunities Master Fund Ltd., et al. v. Perrigo Co. plc, et al., No. 2:18-cv-
1121-MCA-LDW

Harel Insurance Company, Ltd, et al. v. Perrigo Company plc, et al., 2:18-cv-2074-MCA-LDW
First Manhattan Co. v. Perrigo Company plc, et al., No. 2:18-cv-2291-MCA-LDW

TIAA-CREF Investment Management, LLC, et al. v. Perrigo Company plc, et al., No. 2:18-cv-
8175-MCA-LDW

Nationwide Mutual Funds, et al. v. Perrigo Company plc, et al., No. 2:18-cv-15382-MCA-LDW

WCM Alternatives: Event-Driven Fund, et al. v. Perrigo Co., ple, et al., No. 2:18-cv-16204-
MCA-LDW

Hudson Bay Master Fund Ltd. et al. y. Perrigo Co., ple, et al., No. 2:1 8-cv-16206-MCA-LDW
Schwab Capital Trust, et al. v. Perrigo Co. plc, et al., No. 2:19-cv-3973-MCA-LDW
Oz Master Fund Ltd, et al. v. Perrigo Co. plc, et al., No. 2:19-cv-4900

Aberdeen Canada Funds -- Global Equity Fund, et al. y. Perrigo Co. ple, et al., No. 2:19-cv-
6560-MCA-LDW
